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                    UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF PENNSYLVANIA


   In re                                :      Chapter 13

   John E. Morris
   Debtor                               :      Bankruptcy No. 19-13497-mdc




                                     ORDER


               AND NOW, it appearing that the above-captioned Chapter 13

   debtor has failed to file the Domestic Support, the debtor having been

   erroneously discharged, and the case closed prematurely, it is hereby

               ORDERED that the Order approving Trustee’s Report,

   Discharging Trustee and Closing Case entered on December 22, 2021, is

   VACATED,

               IT IS FURTHER ORDERED that the Order Discharging Debtor

   entered on December 22, 2021, is VACATED.




   Date: December 30, 2021
                                            Magdeline D. Coleman
                                            Chief U.S. Bankruptcy Judge
